     Case 2:10-cv-02211-DMG-AGR Document 1090 Filed 10/29/21 Page 1 of 2 Page ID
                                     #:39113



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10
                        UNITED STATES DISTRICT COURT
11
                       CENTRAL DISTRICT OF CALIFORNIA
12
13    JOSE ANTONIO FRANCO-                )   Case No. 10-CV-02211 DMG (DTBx)
      GONZALEZ, et al.,                   )
14                                        )   JOINT STIPULATION TO AMEND
15       Plaintiffs-Petitioners,          )   ORDER IMPLEMENTING COURT’S
                                          )
16                     v.                 )   PERMANENT INJUNCTION;
                                          )   [PROPOSED] AMENDED APPENDIX
17    CHAD WOLF, Acting Secretary,        )   A; [PROPOSED] ORDER
      Department of Homeland Security, et )
18    al.,                                )
                                          )   Honorable Dolly M. Gee
19      Defendants- Respondents,          )   Hearing: 9:30 a.m., November 26, 2021
                                          )
20    ____________________________        )
21
22         The parties respectfully request this Court amend the Order Further
23
     Implementing this Court’s Permanent Injunction (“Implementation Plan Order”),
24
25 ECF No. 786, by replacing Appendix A of the Implementation Plan Order with the
26 Amended Appendix A, included herein as Exhibit 1. Appendix A was last amended
27
   through a stipulation of the parties on October 19, 2018. See ECF Nos. 1018, 1019.
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     Case 2:10-cv-02211-DMG-AGR Document 1090 Filed 10/29/21 Page 2 of 2 Page ID
                                     #:39114



 1         As indicated in the Implementation Plan Order, Defendants affirm that the
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     facilities identified in Amended Appendix A are the exclusive locations where
 3
 4 immigration detainees are detained for more than 72 hours in the States of
 5
     Washington, Arizona and California, and further affirm that the national detention
 6
 7 standards listed next to each of those facilities are those in force at those facilities
 8 today. See Implementation Plan Order 4 n.5.
 9
10       On October 4, 2021, Defendants informed Plaintiffs-Petitioners
11 (“Plaintiffs”) they would move to amend Appendix A of the Implementation Plan
12
   Order to include the Golden State Annex (GSA) in McFarland, California, and the
13
14 Desert View Annex (DVA) in Adelanto, California.
15
         On October 5, 2021, undersigned counsel confirmed that Plaintiffs stipulate
16
17 to this proposed amendment of Appendix A.
18
19
20 Dated: October 29, 2021                          Respectfully submitted,
21                                                  /s/ James J. Walker
22                                                  JAMES J. WALKER
23                                                  Senior Litigation Counsel
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26
27
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